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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES EVERETT SHELTON,                       :           CIVIL ACTION
         Plaintiff                           :
                                             :
       vs.                                   :          NO. 18-2186
                                             :
CAPITAL ADVANCES LLC &                       :
CARMELA MORELLI,                             :
         Defendants                          :


                                       JUDGMENT

              AND NOW, this 7th day of May, 2019, judgment is hereby entered in favor of
Plaintiff James Everett Shelton, and against Defendants Capital Advances LLC and Carmela
Morelli, in the amount of $585.00.




                                                 KATE BARKMAN
                                                 Clerk of Court


                                          By:    s/ Terry Milano
                                                 Deputy Clerk
